     Case 3:18-cv-01419 Document 26 Filed 09/13/19 Page 1 of 2 PageID #: 91




                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                       AT HUNTINGTON

Richard Arthur
      Plaintiff,
v.                                                                  Case No. 3:18-cv-01419

Convergent Outsourcing, Inc.,
      Defendant.

                                    ORDER OF DISMISSAL

       This day come the parties, by counsel, and represent to the Court that the above-styled

civil action has been fully compromised and settled among the parties, and jointly move the

Court for an Order dismissing Plaintiff’s claims against Defendants WITH PREJUDICE and

striking this action from the docket of this Court.

       The Court, perceiving no objection to the motion, is of the opinion to grant it.

       It is, therefore, ORDERED that all claims of Plaintiff Richard Arthur against Defendant

Convergent Outsourcing, Inc., are dismissed with prejudice. Plaintiff and Defendant shall each

bear their own costs and attorneys’ fees.


                 September 13, 2019
Date of Entry: _____________________                         ____________________________
                                                             Hon. Judge Robert C. Chambers
                                                             United States District Court for the
                                                             Southern District of West Virginia

PREPARED BY:

/s/Benjamin M. Sheridan
Benjamin M. Sheridan (WVB #11296)
Klein & Sheridan, LC
3566 Teays Valley Rd
Hurricane, WV 25526
T: (304) 562-7111
F: (304) 526-7115
Counsel for Plaintiff

                                                  1
    Case 3:18-cv-01419 Document 26 Filed 09/13/19 Page 2 of 2 PageID #: 92




AGREED TO BY:


/s/M. David Griffith, Jr.____________
M. David Griffith, Jr. (WVSB 7720)
THOMAS COMBS & SPANN, PLLC
P.O. Box 3824
Charleston, WV 25338
Phone (304) 414-1800
Fax: (304) 414-1801
dgriffith@tcspllc.com

Brett B. Goodman, Esq.
YU MOHANDESI LLP
633 West Fifth Street, Suite 2800
Los Angeles, CA 90071

Counsel for Defendant




                                        2
